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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                    :
                                             :
              Plaintiff,                     :
                                             :
       v.                                    :   Civil Action No. 19-0519
                                             :
SAFEHOUSE, a Pennsylvania nonprofit          :
corporation;                                 :
                                             :
JOSE BENITEZ, as President and               :
Treasurer of Safehouse,                      :
                                             :
            Defendants.                      :
____________________________________         :
                                             :
SAFEHOUSE, a Pennsylvania nonprofit          :
corporation,                                 :
                                             :
              Counterclaim Plaintiff,        :
                                             :
       v.                                    :
                                             :
UNITED STATES OF AMERICA,                    :
                                             :
              Counterclaim Defendant,        :
                                             :
       and                                   :
                                             :
U.S. DEPARTMENT OF JUSTICE;                  :
MERRICK B. GARLAND, in his official          :
capacity as Attorney General of the United   :
States; and JENNIFER ARBITTIER               :
WILLIAMS, in her official capacity as U.S.   :
Attorney for the Eastern District of         :
Pennsylvania,                                :
                                             :
              Third-Party Defendants.        :
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                                  STIPULATED SCHEDULING ORDER

           WHEREAS, on February 7, 2022, when the parties appeared before the Court, they

announced that discussions were underway to explore a possible amicable resolution of this

matter. The discussions to date, addressing a novel and complex subject matter, have been and

continue to be productive.

           WHEREAS, on February 4, 2022, the Department of Justice publicly stated that it is

“evaluating supervised consumption sites, including discussions with state and local regulators

about appropriate guardrails for such sites, as part of an overall approach to harm reduction and

public safety.” 1 Those discussions have continued, and the United States believes additional time

is necessary to permit careful consideration of the government’s harm reduction and public safety

goals.

           ACCORDINGLY, IT IS HEREBY STIPULATED AND AGREED by and between the

counsel for the parties as follows:

           1.       The United States shall respond to Safehouse’s Amended Counterclaims for

Declaratory and Injunctive Relief by September 22, 2022, by way of answer and/or appropriate

Rule 12 motion.

           2.       Safehouse shall file any brief in opposition by October 21, 2022.

           3.       The United States shall file any reply by November 11, 2022.

Respectfully submitted,


    JACQUELINE C. ROMERO                                     DLA PIPER LLP (US)
    United States Attorney

    /s/ Gregory B. David                                     /s/Ilana H. Eisenstein
    GREGORY B. DAVID                                         Ilana H. Eisenstein
    Assistant United States Attorney                         ilana.eisenstein@dlapiper.com

1
    https://thehill.com/policy/healthcare/593212-justice-department-to-evaluate-providing-safe-havens-for-drug-use.
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                                         Attorneys for Safehouse and Jose Benitez

Approved this 8th day of August, 2022.

  /s/ Gerald Austin McHugh
United States District Judge
